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                                             Chicago        Melville          Nashville         San Diego            Wilmington

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                                                        September 12, 2024

                                                                                                                           VIA ECF


     Magistrate Judge Joseph A. Marutollo
     United States District Court
       for the Eastern District of New York
     225 Cadman Plaza East
     Courtroom N324
     Brooklyn, NY 11201

               Re:      In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation,
                        No. 1:05-MD-1720 (MKB)(JAM)

    Dear Judge Marutollo:

           Rule 23(b)(3) Class Counsel (“Class Counsel”) writes to provide additional information
    regarding Betz & Baril and Certainty Management, both subject to an Order to Show Cause. ECF
    9408. Class Counsel, in conducting further investigation, discovered a third video from Betz & Baril
    and Certainty Management. We include here a rough transcription of the third video. See Ex. A.
    This video, like the other videos we brought to the Court’s attention, is riddled with false and
    misleading statements, again claiming, without correction, that the Betz & Baril firm is “court-
    appointed.” See Ex. A at 4,7. Throughout the video, the impression is that the Betz & Baril firm was
    counsel for the class, working for years on the litigation. See Ex. A at 8-9. Of course, this is not true.
    There are numerous other misleading and factually incorrect statements in the video, including
    statements that settlement funds could revert to defendants.

            On September 11, 2024, Class Counsel wrote to both Jason Baril and Patrick Laing of
    Certainty Management alerting them to the discovery of this third video and questioning why the
    video was still available. Class Counsel suggested Mr. Laing remove the subject videos from the
    internet. It appears that video has been removed, but at least one other misleading video remains
    available online.

                                                       Respectfully submitted,

       /s/ Ryan W. Marth                          /s/ Michael J. Kane                         /s/ Alexandra S. Bernay
       K. Craig Wildfang                          H. Laddie Montague, Jr.                     Patrick J. Coughlin
       Thomas J. Undlin                           Merrill G. Davidoff                         Alexandra S. Bernay
       Ryan W. Marth                              Michael J. Kane                             Robbins Geller Rudman
       Robins Kaplan LLP                          Berger Montague PC                             & Dowd LLP

    Exhibit A
    cc: All Counsel via ECF

    4881-4095-7667.v1

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